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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                            Plaintiffs,

             v.

   BED BATH & BEYOND INC.,

                            Defendant.



                               DECLARATION OF HECTOR OLAYA

        I, Hector Olaya, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

        1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

        2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

        3.        The facts set forth in this Declaration are based on my own personal knowledge

and the stores in which I have experience as a Store Manager.

        4.        I became employed by Bed Bath and Beyond Inc. (“BBB”) approximately 18

years ago as a part-time associate. I was eventually promoted through the ranks to Department

Manager, then Assistant Store Manager, to Store Manager. I have been a Store Manager for

approximately 10 years and have worked at a handful of different stores in the Atlanta, Georgia

area.



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       5.      Johnny Mitchell was employed as an Assistant Store Manager in Store 1094 in

Atlanta during a period of time in which I was the Store Manager. When Johnny was transferred

into Store 1094, he had just been promoted to the role of ASM.

       6.      Store 1094 is a mid-volume store. During the time I was Store Manager, there

were 3 Assistant Store Managers (including Johnny) and approximately 35 hourly associates.

       7.      In my experience, Assistant Store Managers are important members of

management. They are the leaders of the store, in charge of assisting the Store Manager with

running the store, and are responsible for training and developing the associates. When a Store

Manager is not at the store, the Assistant Store Manager is in charge of the entire store. When

associates are not performing as they should, Assistant Store Managers counsel the associates

and discipline them as necessary. Assistant Store Managers also assist the Store Manager with

interviewing and hiring store associates.

       8.      Johnny Mitchell understood what his job duties as an Assistant Store Manager

required, but his performance as an Assistant Store Manager was well-below average.

       9.      Given that Johnny had recently been promoted to the role of ASM, I expected him

to experience a learning curve. However, even after Johnny had undergone extensive training

and gained more experience, his managerial skills barely improved.

       10.     As an ASM, Johnny was expected to discipline and conduct performance reviews

of his associates. Rather than disciplining his associates, Johnny would often notify his Store

Manager but would not take any action himself. Similarly, Johnny consistently failed to conduct

performance reviews of his associates on a timely basis, ultimately requiring someone else to

step in and complete them on his behalf.




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       11.      Johnny Mitchell was ultimately terminated for stealing $4,500 from the Company

and grossly abusing his managerial authority. Specifically, part of Johnny's responsibilities as an

ASM included closing the store on certain days where Johnny would be the only employee in the

store. As part of this responsibility, Johnny was expected to close out the registers and count the

drawers. In doing so, Johnny would create fraudulent returns for his own personal gain. Johnny

also stole money from the wallet of a customer that was left behind and in the store's safe.

       12.      Upon completing an investigation and confirming that Johnny Mitchell was the

ASM responsible for the theft, Johnny was arrested and criminally prosecuted.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed this      day of December, 2017.



                                                       ector Olaya
                                                     Store Manager
                                                     Bed Bath and Beyond Inc.




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